Case 3:17-cv-00108-GPC-MDD Document 1186 Filed 04/23/19 PageID.124706 Page 1 of 11




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                           UNITED STATES DISTRICT COURT
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                         SOUTHERN DISTRICT OF CALIFORNIA
8
9    IN RE:                                   Case No. 3:17-CV-00108-GPC-MDD
10   QUALCOMM LITIGATION
                                              JOINT MOTION FOR ORDER
11                                            APPROVING REDACTION OF NON-
12                                            PUBLIC PORTION OF
                                              TRANSCRIPT OF JURY TRIAL
13                                            (VOL. 2)
14                                            Judge:      Hon. Gonzalo P. Curiel
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28                                                                  Case No. 17-cv-0108-GPC-MDD
       JOINT MOTION RE REDACTION OF NON-PUBLIC PORTION OF TRANSCRIPT OF JURY TRIAL (VOL. 2)
Case 3:17-cv-00108-GPC-MDD Document 1186 Filed 04/23/19 PageID.124707 Page 2 of 11




1                                        INTRODUCTION
2          Qualcomm Incorporated (“Qualcomm”), Apple Inc. (“Apple”) and Compal
3    Electronics, Inc., FIH Mobile Ltd., Hon Hai Precision Industry Co., Ltd., Pegatron
4    Corporation and Wistron Corporation (collectively, “the CMs” and, with Qualcomm and
5    Apple, “the Parties”), by and through their respective counsel, hereby jointly move for an
6    order approving redaction of the Transcript of Jury Trial, Volume 2, page 227 line 7
7    through page 230 line 19, page 349 line 22 through page 350 line 14, and page 350 line
8    24 through page 352 line 18. Compelling reasons support the Parties’ requested
9    redactions in order to maintain the non-public nature of the Court’s sidebar discussion
10   with counsel regarding the parties’ settlement discussions, and the Parties’ requested
11   redactions are narrowly drawn to balance the interests favoring the confidentiality of
12   settlement discussions against the public’s right to access court files and understand the
13   parties’ dispute, which has now been resolved and will soon be dismissed pursuant to
14   confidential settlement agreements between the parties.
15                                        BACKGROUND
16         On April 16, 2019, prior to bringing the jury into the courtroom for opening
17   statements at trial, the Court held a sidebar discussion with counsel for all parties
18   regarding the parties’ settlement discussions. Decl. of Kelly V. O’Donnell in Supp. Jt.
19   Motion (“O’Donnell Decl.”) ¶ 2. At the conclusion of opening statements, the Court
20   convened another sidebar discussion with counsel regarding the settlement discussions.
21   Id. By that time, the parties’ discussions had resulted in a settlement of the parties’
22   dispute, which soon will be dismissed pursuant to confidential settlement agreements
23   executed between the parties. Id. These sidebar discussions, which were conducted
24   outside the hearing of the public and have not been made public, were reported at (i) page
25   227 line 7 through page 230 line 19; (ii) page 349 line 22 through page 350 line 14 and
26   (iii) page 350 line 24 through page 352 line 18 of the Transcript of Jury Trial, Volume 2
27   (“Transcript”). Id.
28                                                                   Case No. 17-cv-0108-GPC-MDD
        JOINT MOTION RE REDACTION OF NON-PUBLIC PORTION OF TRANSCRIPT OF JURY TRIAL (VOL. 2)
                                               -1-
Case 3:17-cv-00108-GPC-MDD Document 1186 Filed 04/23/19 PageID.124708 Page 3 of 11




1                                      LEGAL STANDARDS
2          The Court may seal court records related to trial when “compelling reasons”
3    support doing so. Kamakana v. City and Cty. Of Honolulu, 447 F.3d 1172, 1178-79 (9th
4    Cir. 2006). The Ninth Circuit has recognized the authority of district courts to protect
5    confidential settlement agreements. Phillips ex rel. Estates of Byrd v. Gen. Motors Corp.,
6    307 F.3d 1206, 1212 (9th Cir. 2002). District courts routinely grant motions to seal
7    sidebar discussions and discussions regarding settlement. Richmond Newspapers, Inc. v.
8    Virginia, 448 U.S. 555, 598 n.23 (1980) (Brennan, J., concurring) (“[W]hen engaging in
9    interchanges at the bench, the trial judge is not required to allow public or press intrusion
10   upon the huddle.”); City of Hartford v. Chase, 942 F.2d 130, 135 (2d Cir. 1991) (noting
11   that it is well settled that “a federal judge has the power to prevent access to settlement
12   negotiations when necessary to encourage the amicable resolution of disputes”); United
13   States v. Edwards, 823 F.2d 111, 116 (5th Cir. 1987) (“bench conferences are outside
14   public hearing and the protection of their privacy is generally within the court’s
15   discretion”); In re Volkswagen “Clean Diesel” Mktg., Sales Practices, & Prod. Liab.
16   Litig., 2017 WL 1352859, at *1 n.2 (N.D. Cal. April 12, 2017); App. of Daily News, 787
17   F. Supp. 319, 326-27 (E.D.N.Y. 1992) (denying motion to unseal transcripts of sidebar
18   discussions because, in part, the discussions “d[id] not relate to any substantive or
19   evidentiary matter in th[e] trial”). Particularly where settlement documents are not filed
20   with the court, the parties’ interest in maintaining the confidentiality of their negotiations
21   “easily overcome[s]” the “markedly weak presumption of public access” to court records.
22   Gambale v. Deutsche Bank AG, 377 F.3d 133, 143-44 (2d Cir. 2004).
23                                          DISCUSSION
24         Here, compelling reasons support redacting the Court’s sidebar discussions with
25   counsel regarding the Parties’ settlement negotiations. Kamakana, 447 F.3d at 1178-79;
26   Phillips ex rel. Estates of Byrd, 307 F.3d at 1212; Richmond Newspapers, Inc., 448 U.S.
27   at 598 n.23; City of Hartford, 942 F.2d at 135; Edwards, 823 F.2d at 116; In re
28                                                                   Case No. 17-cv-0108-GPC-MDD
        JOINT MOTION RE REDACTION OF NON-PUBLIC PORTION OF TRANSCRIPT OF JURY TRIAL (VOL. 2)
                                               -2-
Case 3:17-cv-00108-GPC-MDD Document 1186 Filed 04/23/19 PageID.124709 Page 4 of 11




1    Volkswagen “Clean Diesel” Mktg., Sales Practices, & Prod. Liab. Litig., 2017 WL
2    1352859, at *1 n.2; App. of Daily News, 787 F. Supp. at 326-27. These discussions,
3    which were conducted in confidence with the Court, reflect the Parties’ process for
4    negotiating and finalizing their confidential settlement agreements. While the fact of the
5    Parties’ settlement has been made public, the settlement agreements themselves have not
6    been filed with the Court, and the agreements and the terms of the Parties’ settlement
7    remain confidential. O’Donnell Decl. ¶ 3. The Parties’ interest in maintaining
8    confidentiality, the Court’s discretion to conduct non-public sidebar discussions with
9    counsel, and the policy interests in favor of encouraging settlement outweigh any
10   potential public interest. See Gambale, 377 F.3d at 143-44. Finally, the Parties’
11   proposed redactions, which would cover only a very small fraction of the Transcript, are
12   narrowly drawn to protect the interests favoring the confidentiality of sidebar discussions
13   and settlement negotiations while preserving the public’s right to access court files and
14   the public’s interest in understanding the issues in the trial. See Kamakana, 447 F.3d at
15   1179.
16           For the foregoing reasons, the Court should grant the Parties’ Joint Motion and
17   order the Clerk of Court to redact (i) page 227 line 7 through page 230 line 19, (ii) page
18   349 line 22 through page 350 line 14, and (iii) page 350 line 24 through page 352 line 18
19   of the publicly available version of the Transcript of Jury Trial, Volume 2. An
20   unredacted version of the April 16, 2019 trial transcript that includes these sections
21   should be filed under seal.
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28                                                                   Case No. 17-cv-0108-GPC-MDD
        JOINT MOTION RE REDACTION OF NON-PUBLIC PORTION OF TRANSCRIPT OF JURY TRIAL (VOL. 2)
                                               -3-
Case 3:17-cv-00108-GPC-MDD Document 1186 Filed 04/23/19 PageID.124710 Page 5 of 11




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28                                                                  Case No. 17-cv-0108-GPC-MDD
       JOINT MOTION RE REDACTION OF NON-PUBLIC PORTION OF TRANSCRIPT OF JURY TRIAL (VOL. 2)
                                              -4-
Case 3:17-cv-00108-GPC-MDD Document 1186 Filed 04/23/19 PageID.124711 Page 6 of 11




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       JOINT MOTION RE REDACTION OF NON-PUBLIC PORTION OF TRANSCRIPT OF JURY TRIAL (VOL. 2)
                                              -5-
Case 3:17-cv-00108-GPC-MDD Document 1186 Filed 04/23/19 PageID.124712 Page 7 of 11




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       JOINT MOTION RE REDACTION OF NON-PUBLIC PORTION OF TRANSCRIPT OF JURY TRIAL (VOL. 2)
                                              -6-
Case 3:17-cv-00108-GPC-MDD Document 1186 Filed 04/23/19 PageID.124713 Page 8 of 11



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       JOINT MOTION RE REDACTION OF NON-PUBLIC PORTION OF TRANSCRIPT OF JURY TRIAL (VOL. 2)
                                              -7-
Case 3:17-cv-00108-GPC-MDD Document 1186 Filed 04/23/19 PageID.124714 Page 9 of 11




1                        DECLARATION OF KELLY V. O’DONNELL
2    I, Kelly V. O’Donnell, declare as follows:
3          1.     I am an attorney licensed to practice law in the State of California and before
4    this Court. I am a partner at the law firm Jones Day, counsel of record for Qualcomm
5    Incorporated (“Qualcomm”) in this action. I submit this declaration in support of the
6    Parties’ Joint Motion for Order Approving Redaction of Non-Public Portion of Transcript
7    of Jury Trial (Vol. 2).
8          2.     On April 16, 2019, prior to bringing the jury into the courtroom for opening
9    statements at trial, the Court held a sidebar discussion with counsel for all parties
10   regarding the parties’ settlement discussions. At the conclusion of opening statements,
11   the Court convened another sidebar discussion with counsel regarding the settlement
12   discussions. By that time, the parties’ negotiations had resulted in a settlement of the
13   parties’ dispute, which soon will be dismissed pursuant to confidential settlement
14   agreements executed between the parties. These sidebar discussions were conducted
15   outside the hearing of the public and have not been made public. They were reported at
16   (i) page 227 line 7 through page 230 line 19, (ii) page 349 line 22 through page 350 line
17   14, and (iii) page 350 line 24 through page 352 line 18 of the Transcript of Jury Trial,
18   Volume 2.
19         3.     The fact of the parties’ settlement of their dispute, and this consolidated
20   action, has been publicly reported. However, the settlement agreements themselves have
21   not been filed with the Court, and the agreements and the terms of the parties’ settlement
22   remain confidential.
23         I declare under penalty of perjury that the foregoing is true and correct and that I
24   executed this declaration on April 23, 2019, in San Diego, California.
25                                                  /s/ Kelly V. O’Donnell
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28                                                                   Case No. 17-cv-0108-GPC-MDD
        JOINT MOTION RE REDACTION OF NON-PUBLIC PORTION OF TRANSCRIPT OF JURY TRIAL (VOL. 2)
                                               -8-
Case 3:17-cv-00108-GPC-MDD Document 1186 Filed 04/23/19 PageID.124715 Page 10 of
                                      11



1                                   FILER’S ATTESTATION
2          Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies
3    and Procedures of the United States District Court of the Southern District of California, I
4    certify that authorization for the filing of this document has been obtained from each of
5    the other signatories shown above and that all signatories have authorized placement of
6    their electronic signature on this document.
7
8                                           By: /s/ Kelly V. O’Donnell
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28                                                                   Case No. 17-cv-0108-GPC-MDD
        JOINT MOTION RE REDACTION OF NON-PUBLIC PORTION OF TRANSCRIPT OF JURY TRIAL (VOL. 2)
                                               -9-
Case 3:17-cv-00108-GPC-MDD Document 1186 Filed 04/23/19 PageID.124716 Page 11 of
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1                                CERTIFICATE OF SERVICE
2          The undersigned hereby certifies that a true and correct copy of the above and
3    foregoing document has been served on April 23, 2019, to all counsel of record who are
4    deemed to have consented to electronic service via the Court’s CM/ECF system per Civil
5    Local Rule 5.4(d). Any other counsel of record will be served by electronic mail,
6    facsimile and/or overnight delivery.
7          I certify under penalty of perjury that the foregoing is true and correct. Executed
8    on April 23, 2019, at San Diego, California.
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        JOINT MOTION RE REDACTION OF NON-PUBLIC PORTION OF TRANSCRIPT OF JURY TRIAL (VOL. 2)
                                              - 10 -
